           Case 3:24-cv-01442-SK Document 12 Filed 04/11/24 Page 1 of 2




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 6 Attorneys for Plaintiff
   Benito Antonio Martinez Ocasio p/k/a
 7 Bad Bunny
 8                               UNITED STATE DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10                             SAN FRANCISCO/OAKLAND DIVISION

11
12 BENITO ANTONIO MARTINEZ OCASIO                         Case No. 3:24-cv-1442-SK
     p/k/a Bad Bunny,
13                                                        Hon. Sallie Kim
                                  Plaintiff,
14                                                        NOTICE OF VOLUNTARY DISMISSAL
                   v.                                     WITHOUT PREJUDICE UNDER FED. R.
15                                                        CIV. P. 41(a)(1)(A)(i)
   ERIC GUILLERMO MADRONAL GARRONE,
16 an individual; and DOES 1 through 25, inclusive,
17                                Defendants.

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20           TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
21           PLEASE TAKE NOTICE that Plaintiff Benito Antonio Martinez Ocasio, p/k/a Bad Bunny
22 hereby dismisses this action without prejudice under Federal Rules of Civil Procedure,
23 rule 41(a)(1)(A)(i), because the infringing videos identified in Plaintiff’s Complaint (ECF No. 1)
24 have been removed from YouTube and Plaintiff understands that the videos will not be reinstated.
25 / / /
26 / / /
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                                                                    NOTICE OF VOLUNTARY DISMISSAL
                                                                                WITHOUT PREJUDICE
         Case 3:24-cv-01442-SK Document 12 Filed 04/11/24 Page 2 of 2




 1          Plaintiff reserves the right to refile this action if any one or more of the infringing videos

 2 are reinstated or otherwise re-uploaded online in any capacity (including but not limited to
 3 YouTube, online websites, social media, etc.).
 4
     Dated: April 11, 2024                                  JASSY VICK CAROLAN LLP
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 6
 7                                                          ________________________________

 8                                                          JASSY VICK CAROLAN LLP
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12                                                          Attorneys for Plaintiff
                                                            Benito Antonio Martinez Ocasio p/k/a
13                                                          Bad Bunny

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                                                                      NOTICE OF VOLUNTARY DISMISSAL
                                                                                  WITHOUT PREJUDICE
